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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



  PUBLIC INTEREST LEGAL                    Docket No. 22-CV-02865 (FLW-RLS)
  FOUNDATION, INC.,
                                           HONORABLE FREDA L.
                     Plaintiff,            WOLFSON, U.S.D.J.

        v.                                             Civil Action

  TAHESHA WAY, in her official
  capacity as Secretary of State for the   Motion Date: July 18, 2022
  State of New Jersey,

                     Defendant.




                  DEFENDANT’S BRIEF IN SUPPORT OF
                 MOTION TO DISMISS IN LIEU OF ANSWER


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                           PRELIMINARY STATEMENT

       Plaintiff Public Interest Legal Foundation, Inc. (“PILF”) is not entitled to the

 Voter Module for New Jersey’s Statewide Voter Registration System (“Voter

 Module”) under the National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C.

 §§ 20501, et seq. The Voter Module is essentially an online instruction manual for

 the State’s Statewide Voter Registration System (“SVRS”), which is the secure

 official database of registered voters. There is no basis in the statute or any published

 precedent for the mandatory disclosure of such a technical manual, especially when

 doing so would pose a risk to the security of the State’s election systems.

       Plaintiff’s entire claim hinges on whether the Voter Module is required to be

 disclosed under the NVRA. Neither the text nor the legislative purpose of the

 NVRA, nor any decisional regarding the statute’s public disclosure requirements

 support Plaintiff’s theory. Rather, they confirm that the Voter Module is outside the

 scope of the NVRA.

       To begin, the Complaint fails to allege how the software manual for the State’s

 secure voter database falls under the NVRA’s definition of a “record[] concerning

 the implementation of programs and activities conducted for the purpose of ensuring

 the accuracy and currency of official lists of eligible voters” under the NVRA. 52

 U.S.C. § 20507(i)(1). And at its core, the NVRA requires public disclosure of

 documents that will allow requestors to evaluate whether a state is keeping its voter
                                            1
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 registrations accurate and current – i.e., whether eligible voters are being registered

 and whether ineligible voters are being rejected or removed from the rolls. The

 Voter Module simply does not do that. Rather, it is an instruction manual for

 authorized users of the SVRS to add, delete, or modify the information contained in

 the SVRS. It does not contain information about registered voters or information

 about the policies and procedures for registering voters or removing voters. Instead,

 disclosure of the Voter Module would put the State’s election security at risk by

 giving a blueprint to bad actors to manipulate the SVRS system.

       Because the Voter Module is not a record that assists anyone in evaluating

 whether New Jersey’s voter rolls are accurate or current, it is outside of the scope of

 the NVRA. The New Jersey Division of Elections (“DOE”) had no obligation to

 produce the Voter Module in response to PILF’s request under the NVRA, and thus

 did not violate the NVRA. Therefore, the Secretary is entitled to dismissal with

 prejudice.

          PROCEDURAL HISTORY AND STATEMENT OF FACTS

       On September 21, 2021, Plaintiff PILF, by way of Logan Churchwell,

 submitted a letter through the Secretary of State Feedback System (the “SOS

 Feedback System”), which is almost solely used for requests submitted under New

 Jersey’s Open Public Records Act (“OPRA”), N.J. Stat. Ann. § 47:1A-1.1 to -13.

 Plaintiff requested “[c]opies of all manuals, guidance, instructions, and other written


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 procedures for identifying, merging, and/or cancelling duplicate voter registration

 records.” Compl., Ex. A (ECF No. 1-2). DOE treated the request as one made

 pursuant to OPRA, and determined that it maintained three responsive documents:

 1) Implementing the National Voter Registration Act of 1993: Requirements, Issues,

 Approaches, and Examples, 2) the Rutgers Basic County Elections Administration

 Manual for New Jersey Elections; and 3) the Voter Module for the SVRS.

 Declaration of Lauren M. Zyriek, D.P.A. (“Zyriek Decl.”), ¶¶ 4-5. DOE determined

 that the Voter Module could not be produced due to security concerns. Id. ¶ 14.

       The SVRS is a secure electronic database that serves as the official State

 repository for the information of every legally registered voter in New Jersey. Id. ¶

 8. It is the official voter registration system for the conduct of all elections in the

 state. Ibid. The Voter Module details how to take actions to add, modify, or delete

 voter registration information from the SVRS. Id. ¶ 10. In other words, it is a

 technical instruction manual for authorized users of the SVRS. 1 Ibid. In part, the

 Voter Module instructs how to add or remove registered voters from the SVRS. Ibid.

 While the SVRS contains voter registration information, the Voter Module does not.

 Id. ¶ 11. Nor does the Voter Module contain the State’s policies and procedures as


 1
   New Jersey’s election laws restrict authorized users of the SVRS to only “those
 executive departments and State agencies so designated by the Secretary of State,
 each county commissioner of registration, each county and municipal clerk, and
 individuals under certain circumstances, as provided for by this section.” N.J. Stat.
 Ann. § 19:31-31.
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 to how to determine whether a voter must be removed from the SVRS. Id. ¶ 12. It

 simply instructs how to make those changes in the SVRS, once a determination has

 already been made that such changes need to be entered. Ibid.

       On March 25, 2022, DOE responded to Plaintiff’s request citing OPRA.

 Compl., Ex. B (ECF No. 1-3). DOE stated that it was producing the NVRA

 implementation guide and the Rutgers Manual. Ibid. With regard to the Voter

 Module, DOE stated that “the documents you seek” are “confidential because its

 disclosure would expose critical vulnerability within the State’s election process.”

 Ibid. Due to human error, the NVRA implementation guide and Rutgers Manual

 were not produced until May 19, 2022. Zyriek Decl. ¶¶ 15-16. 2

       On April 4, 2022, Plaintiff sent a notice to the Secretary3 pursuant to 52 U.S.C.

 § 20510(b)(1), alleging that she was in violation of the public disclosure provision

 of the NVRA and that it would file suit if the withheld document was not produced



 2
   The NVRA implementation guide is a publicly-available reference guide created
 by the National Clearinghouse on Election Administration, Federal Election
 Commission, in 1994 to describe the requirements of the NVRA, identify important
 issues to states’ implementation of the NVRA and conforming legislation, and to
 offer examples of forms and procedures for implementing the NVRA. Zyriek Decl.
 ¶ 6. The Rutgers Manual is a manual created by the Rutgers University Center for
 Government Services, Division of Continuing Studies, in 2017 for a course in Basic
 County Elections Administration that summarizes the laws and procedures for
 elections in New Jersey, including voter registration requirements pursuant to New
 Jersey’s elections laws and the NVRA. Id. ¶ 7.
 3
   The Secretary of State is the chief election official of the State. N.J. Stat. Ann.
 § 52:16A-98(b).
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 within 20 days. Compl., Ex. C (ECF No. 1-4). Plaintiff also announced its intent to

 seek attorney’s fees under 52 U.S.C. § 20510(c). Ibid.

       On May 17, 2022, Plaintiff filed this complaint alleging that the Secretary

 violated the disclosure provision of the NVRA. The Complaint contains only a

 single count, alleging that “[t]he requested records are records within the scope of

 the NVRA’s Public Disclosure Provision.” Compl., ¶ 30 (ECF No. 1). Plaintiff

 alleges that by withholding the requested records, the Secretary violated the NVRA’s

 disclosure provision. Id. at ¶ 38. It alleges that OPRA is preempted by the disclosure

 provision of the NVRA. Id. at ¶ 39. Plaintiff seeks the following relief:

              1.    Declaration that the Secretary violated the public
                    disclosure provision of the NVRA;
              2.    Declaration that the NVRA public disclosure
                    provision preempts and supersedes OPRA;
              3.    Order that Defendant provide the requested records;
              4.    Permanent injunction from the State denying
                    similar requests in the future;
              5.    Order that the Secretary pay attorney’s fees and
                    costs; and
              6.    Grant of further relief the court deems just and
                    proper.

              [Compl. at 8.]

 The Summons and Complaint were served on the Secretary on May 19, 2022. The

 Secretary applied for and received a Clerk’s Order extending the date to file a

 responsive pleading to June 23, 2022.

       This Motion to Dismiss follows.


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                                     ARGUMENT

       A complaint may be properly dismissed if it fails to state a claim upon which

 relief can be granted by the court. Fed. R. Civ. P. 12(b)(6). A motion to dismiss

 pursuant to Fed. R. Civ. P. 12(b)(6) will be granted when, taking the allegations of

 the complaint and all reasonable inferences therefrom as true, the plaintiff can prove

 no set of facts that would entitle him or her to relief. Bartholomew v. Fishl, 782 F.2d

 1148, 1152 (3d Cir. 1986).         A plaintiff’s conclusory allegations and legal

 conclusions are not entitled to an assumption of truth. Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009); see also Anspach v. City of Philadelphia, 503 F.3d 256, 260 (3d

 Cir. 2007) (quoting Morse v. Lower Merion School Dist., 132 F.3d 902, 906 (3d Cir.

 1997) (conclusory allegations or legal conclusions masquerading as factual

 allegations will not suffice to prevent dismissal)).

       Plaintiff’s Complaint in this case does not explicitly reference the Voter

 Module or the SVRS. However, “a court can consider ‘a document integral to or

 explicitly relied upon in the complaint,’” In re Rockefeller Center Properties, Inc.

 Sec. Litig., 184 F.3d 280, 287 (3d Cir. 1999) (quoting In re Burlington Coat Factory

 Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)) (emphasis in original), or “an

 undisputedly authentic document that a defendant attaches as an exhibit to a motion

 to dismiss if the plaintiff's claims are based on the document.” Pension Ben. Guar.

 Corp. v. White Consol. Indus., Inc., 998 F.2d 1192, 1196 (3d Cir. 1993). The Voter


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 Module is a document integral to the Complaint because it is the document that DOE

 said it was withholding from PILF for security concerns, which spurred PILF to file

 the present litigation. In lieu of attaching the confidential Voter Module to the

 present motion to dismiss, DOE filed the above-referenced Zyriek Declaration,

 which describes the Voter Module. Thus, this Court may consider the Zyriek

 Declaration on a motion to dismiss without converting it to a summary judgment

 motion.

    I.      THE COMPLAINT MUST BE DISMISSED BECAUSE THE
            VOTER MODULE IS OUTSIDE THE SCOPE OF THE NATIONAL
            VOTER REGISTRATION ACT’S DISCLOSURE PROVISION.

         Plaintiff’s claim that the Secretary violated the NVRA disclosure provision

 by failing to produce a technical manual for the state’s secure voter registration

 system is without merit. The Voter Module is outside the scope of the NVRA and

 is not a record required to be publicly disclosed under 52 U.S.C. § 20507(i). As

 such, PILF cannot state a claim for relief under the NVRA.

         Congress passed the NVRA in response to states that employed

 “discriminatory and restrictive practices that deter potential voters.” S. Rep. 103-6

 at 3 (1993). It was meant to curb “discriminatory and unfair practices” that “deprive

 some citizens of their right to vote.” Ibid. Congress found that “[d]iscriminatory

 and unfair registration laws and procedures can have a direct and damaging effect

 on voter participation in elections for Federal office and disproportionately harm


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 voter participation by various groups, including racial minorities.” Id. at 2. Among

 other things, the NVRA would “provide procedures and standards regarding the

 maintenance and confirmation of voter rolls to assure that voters’ names are

 maintained on the rolls so long as they remain eligible to vote in their current

 jurisdiction and to assure that voters are not required to re-register except upon a

 change of voting address to one outside their current registration jurisdiction.” Ibid.

       The stated purposes of the NVRA are as follows:

              (1) to establish procedures that will increase the number of
                  eligible citizens who register to vote in elections for
                  Federal office;

              (2) to make it possible for Federal, State, and local
                  governments to implement this chapter in a manner
                  that enhances the participation of eligible citizens as
                  voters in elections for Federal office;

              (3) to protect the integrity of the electoral process; and

              (4) to ensure that accurate and current voter registration
              rolls are maintained.

              [52 U.S.C. § 20503(b).]

       The last stated purpose is the most important and represents “the culmination

 of, the fulfillment of the other purposes of the statute. Those other purposes point

 toward increasing voter registration and ensuring that the right to vote is not

 disrupted by illegal and improper impediments to registering to vote or to casting a

 vote.” Project Vote/Voting for America, Inc. v. Long, 752 F. Supp. 2d 697, 710


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 (E.D. Va. 2010). Ultimately, the NVRA was “designed to ensure that eligible

 applicants in fact are registered and that ineligible registrants are removed from the

 States’ official voter lists.” True the Vote v. Hosemann, 43 F. Supp. 3d 693, 721

 (S.D. Miss. 2014).

       The NVRA requires public disclosure of “voter registration activities.” 52

 U.S.C. § 20507(i). This disclosure provision requires in relevant part that:

              Each State shall maintain for at least 2 years and shall
              make available for public inspection and, where available,
              photocopying at a reasonable cost, all records concerning
              the implementation of programs and activities conducted
              for the purpose of ensuring the accuracy and currency of
              official lists of eligible voters, except to the extent that
              such records relate to a declination to register to vote or to
              the identity of a voter registration agency through which
              any particular voter is registered.

              [52 U.S.C. § 20507(i)(1) (emphasis added).]

       Reviewed against the text and purposes of the NVRA, the Voter Module is

 not within the scope of the NVRA. To start, Plaintiff’s Complaint is devoid of any

 plausible allegation that the Voter Module is a “record[] concerning the

 implementation of programs and activities conducted for the purpose of ensuring the

 accuracy and currency of official lists of eligible voters” under the NVRA. 52

 U.S.C. § 20507(i)(1).     And for good reason: the Voter Module is merely an

 instruction manual for computer software that Plaintiff is not authorized to access.

 It does not “concern[] the implementation of programs and activities.”


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       Moreover, the Voter Module does not pertain to the accuracy or currency of

 the voter roll in New Jersey and hence is not required to be produced under the

 disclosure provision of the NVRA. Rather, the Voter Module is an instruction

 manual only for those who have access to the SVRS to make changes to the SVRS

 and contains nothing that would further the goals and purposes of the NVRA. See

 Zyriek Decl. ¶¶ 10-12.

       Furthermore, disclosure of the Voter Module would only harm election

 security, but would not assist Plaintiff in assessing New Jersey’s compliance with

 the NVRA. The Voter Module does not establish procedures to increase voter

 registration or in any way enhance participation of eligible voters. 52 U.S.C. §

 20501(b)(1)-(2). Nor does it ensure accurate and current voter registration rolls. 52

 U.S.C. § 20501(b)(4). But publicly disclosing a manual on how to navigate and

 modify the SVRS risks harm to the integrity of the electoral process in New Jersey;

 such information in the hands of a bad actor could compromise the SVRS itself.

 Hence, disclosing the Voter Module would actually be counter to the purposes of the

 NVRA. 52 U.S.C. § 20501(b)(3).

       The State is not aware of any cases that require disclosure of instruction

 manuals that would risk the security of a state’s actual registration system. The few

 published cases that discuss or interpret the disclosure provision reveal that the

 NVRA disclosure provision applies to records far different than the Voter Module


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 in dispute here. They involve records with substantive information about eligible

 and non-eligible voters, such as voter rolls, voter registration applications, and

 policies and procedures for identifying and removing ineligible voters from the rolls.

 None of the cases involve technical instructions for operating a statewide voter

 registration database similar to the SVRS.

       In Hosemann, the court dealt with a request under the NVRA for unredacted

 “voter rolls, poll books, absentee ballot applications and envelopes, and Federal Post

 Card Applications.” Hosemann, 43 F.Supp.3d at 718. The court concluded that the

 voter roll fell under the NVRA’s disclosure provision. Id. at 723. However, the

 court held that poll books did not fall under the ambit of the NVRA because they are

 “only partial lists of eligible voters” and thus “not records that are reviewed to ensure

 the accuracy and currency of ‘official lists of eligible voters.’” Id. at 725. Likewise,

 the court held that absentee ballot applications and absentee ballot envelopes

 “neither concern voter registration nor are records concerning a program or activity

 to ensure the accuracy and currency of the voter roll.” Id. at 727. And in Project

 Vote/Voting for America, Inc. v. Long, 682 F.3d 331 (4th Cir. 2012), the Fourth

 Circuit considered whether the NVRA required disclosure of voter registration

 applications. The Fourth Circuit said the NVRA did require such disclosure, noting

 that “reviewing voter registration applications keeps official voter lists both

 ‘accurate’ - free from error - and ‘current’ - most recent.” Ibid.


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       Unlike in Hosemann and Long, in this case, Plaintiff in this case is not seeking

 substantive voter information like the voter roll or voter registration applications.4

 It is seeking the technical manual that provides instructions for how to operate the

 state’s secure voter registration system itself. Thus, these cases do not support

 Plaintiff’s claim.

       Other cases that Plaintiff refers to in its Complaint also are inapposite. At

 issue in Public Interest Legal Foundation v. Boockvar, 431 F. Supp. 3d 553 (M.D.

 Pa. 2019) were efforts by the Pennsylvania Department of State to identify and

 remove noncitizens who were mistakenly registered to vote. There was no dispute

 that such an effort was a “program[] or activit[y] conducted for the purpose of

 ensuring the accuracy and currency of official lists of eligible voters,” 52 U.S.C. §

 20507(i)(1); rather, the case boiled down to whether the NVRA was referencing only

 “records that relate to programs created to remove registrants who have died or

 changed their residence.” Boockvar, 431 F. Supp. 3d at 560. Importantly, the

 Pennsylvania Department of State acknowledged that it was engaging in “an intense



 4
   DOE has provided PILF with voter lists twice in the last two years upon PILF’s
 request. Zyriek Decl. ¶¶ 17-18. On March 1, 2021, DOE provided PILF with a link
 to what was then the most-current SVRS voter list. Id. ¶ 17. On March 8, 2022,
 DOE again provided PILF the most-current SVRS voter list. Id. ¶ 18. In its
 Complaint, Plaintiff states that DOE denied “the requested voter list maintenance
 records.” Complaint, ¶ 33 (ECF No. 1). However, Plaintiff did not request and DOE
 did not deny any request for voter list maintenance records. Compl., Exs. A, B (ECF
 Nos. 1-2, 1-3).
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 data analysis process” in response to the error, and had undertaken activities like

 compiling lists of suspected noncitizen registrations and sending letters to

 noncitizens suspected of being registered to confirm their eligibility or cancel their

 registrations. Id. at 557. The District Court held that the disclosure provision

 encompassed more than just one set of programs and activities. Id. at 559-60. By

 contrast, nothing in Plaintiff’s Complaint in this case suggests that the Voter Module

 falls under the NVRA’s definition of “record[] concerning the implementation of

 programs or activities” at all. The Voter Module itself does not implement any

 program or activity. It is merely a technical instruction book.

       Similarly, in Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1338 (N.D.

 Ga. 2016), the court considered a records request under the disclosure provision that

 “generally concern[ed] the State’s evaluation and processing of voter registration

 applications to determine whether applicants should be added to the voter rolls.”

 The court considered several categories of requested records, specifically:

              (1) The date voter registration applications were signed by
                  an applicant.

              (2) The date applications were entered into the Database.

              (3) Each change in an applicant's voter registration status.

              (4) The creation date of Database-generated letters to
                  applicants.




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              (5) Whether an election official manually, instead of
                  mechanically, changed the status of one or more
                  applicants.

              (6) Reasons other than the most recent reason why an
                  applicant was rejected, canceled, or otherwise not
                  added to the voter roll.

              (7) The specific reason why applicants, assigned a status
                  reason of “Error,” “Hearing,” or “Reject,” were
                  canceled.

              (8) Records reflecting applicants' telephone numbers, if
                  listed on their applications.

              (9) Records for canceled applicants with a status reason
                  other than one of the eleven options in the drop-down
                  menu in the Database.

              (10) Copies of Database-generated letters sent to
                 applicants.

              (11) Records reflecting the date a voter registration
                 application was received by election officials.

              (12) The date and disposition of, and any response to, all
                 letters sent to applicants.

              (13) Copies of letters, not generated by the Database, that
              were sent to applicants.

              [Id. at 1341-42.]

       The court held that the public disclosure provision required production of all

 but categories (8), (11), and (12). Id. at 1344. Kemp, like the prior cases, merely

 confirms that the disclosure provision applies to substantive records regarding voter

 registration, such as voter rolls, registration applications, and investigations to
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 remove ineligible voters. See Long, 682 F.3d at 331; Boockvar, 431 F. Supp. 3d at

 553. Each case concerned records that would provide the public with substantive

 information that allows it to review and analyze whether eligible voters are

 registered and whether non-eligible voters are being properly removed. But the

 Voter Module does not contain such information. In fact, poll books and absentee

 ballots—which contain far more substantive information about voter registration

 than the Voter Module, which contains no information about actual voters registered

 in New Jersey—were held as outside the scope of the disclosure provision.

 Hosemann, 43 F. Supp. 3d at 725-27. As such, the Voter Module is not the sort of

 record covered by the disclosure provision of the NVRA.

       Simply put, the Voter Module does not contain any information that helps

 anyone from the public monitor the registration of New Jersey voters or ensure the

 accuracy or currency of the voter rolls. It will not provide anyone with information

 about whether eligible voters are included on New Jersey’s voter roll or whether

 ineligible voters are being removed. See Hosemann, 43 F.Supp.3d at 721. Thus,

 production of the Voter Module does not achieve any of the purposes of the NVRA

 or the disclosure provision.

       Indeed, the NVRA cannot be read to require production of the Voter Module

 because that would put the NVRA in conflict with the Help America Vote Act of

 2002 (“HAVA”), 52 U.S.C. §§ 20901 to 21145. HAVA, particularly Section 303,


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 requires that “[t]he appropriate State or local official shall provide adequate

 technological security measures to prevent the unauthorized access to the

 computerized [statewide voter registration] list established under this section.” 52

 U.S.C. § 21083. Since the Voter Module instructs users on how to add, modify, or

 delete voter registration information from New Jersey’s SVRS, restricting access to

 the Voter Module to only authorized users helps fulfill the requirement of HAVA to

 provide technological security measures and serves as an important security measure

 for the SVRS by thwarting any bad actors who might gain unauthorized access to

 SVRS with the intent to make illegal changes thereto. DOE’s failure to keep the

 Voter Module confidential and secure could compromise the SVRS’s technological

 security measures and potentially put DOE in violation of HAVA. While the court

 in Kemp noted that Section 303 of HAVA did not conflict with the disclosure

 provision of the NVRA where disclosure was authorized by the NVRA, 208 F. Supp.

 3d at 1347, the Voter Module is not disclosable under the NVRA and thus, it must

 be kept confidential pursuant to HAVA.

       Because the Voter Module is outside the scope of the NVRA, it is not required

 to be “publicly disclosed pursuant to a statute,” FEC v. Akins, 524 U.S. 11, 21

 (1998), and Plaintiff is not entitled to the Voter Module under any other federal law.

 As a result, the Secretary of State has not violated the NVRA. Plaintiff requested

 “[c]opies of all manuals, guidance, instructions, and other written procedures for


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 identifying, merging, and/or cancelling duplicate voter registration records.”

 Compl. Ex. A (ECF No. 1-2). New Jersey law already contains statutes that outline

 the process for the removal of voters from the SVRS that adheres to the requirements

 of the NVRA. See N.J. Stat. Ann. § 19:31-15 (removal of name of registered voter

 from Statewide voter registration system; change of residence; corrections) and 52

 U.S.C. § 20507; see also N.J. Stat. Ann. § 19:31-16 (notification by municipal health

 officer or officer in charge of death records indicating the voter is deceased) and N.J.

 Stat. Ann. § 19:33-1 (removal ordered by a judge of the Superior Court of New

 Jersey). The DOE also disclosed to Plaintiff two documents that provide further

 information on the State’s process. Zyriek Decl. ¶¶ 6-7, 16. Thus, Plaintiff has all

 records held by the DOE responsive to Plaintiff’s request and disclosable under the

 NVRA. Zyriek Decl. ¶ 16. Hence, Plaintiff fails to state a claim for violation of the

 NVRA.

       Lastly, Plaintiff’s request for a declaratory judgment that the disclosure

 provision of the NVRA (52 U.S.C. § 20507(i)) preempts OPRA should be rejected.

 Compl., ¶ 39 (ECF No. 1). Because Plaintiff has not shown that it is entitled to the

 Voter Module under the NVRA, the Court should not reach the question of whether

 the NVRA preempts state law disclosure rules under OPRA. Put simply, because

 the Voter Module does not fall under the scope of the NVRA’s disclosure

 requirement, there is no basis for this Court to examine whether, in a different


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 hypothetical case, the NVRA preempts OPRA. See Sutton v. Rasheed, 323 F.3d

 236, 248 (3d Cir. 2003) (“a federal court has neither the power to render advisory

 opinions nor to decide questions that cannot affect the rights of litigants in the case

 before them.”) (quoting Preiser v. Newkirk, 422 U.S. 395, 401 (1975)).

                                   CONCLUSION

       For the reasons stated more thoroughly above, Secretary of State Tahesha

 Way, in her official capacity as the New Jersey Secretary of State, respectfully

 requests that the Complaint be dismissed with prejudice.

                                   Respectfully submitted,

                                   MATTHEW J. PLATKIN
                                   ACTING ATTORNEY GENERAL OF NEW JERSEY

                               By: _/s/ Steven M. Gleeson___________
                                  Steven M. Gleeson
                                  Deputy Attorney General

  Dated: June 23, 2022




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